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                                         ‭IN THE UNITED STATES DISTRICT COURT‬
                                              ‭FOR THE DISTRICT OF COLUMBIA‬



              ‭United States of America,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03010-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬




              ‭State of Colorado,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03715-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

              ‭Google LLC,‬

                                                  ‭Defendant.‬



                                         ‭DECLARATION OF JEREMIAH R. TORRES‬

            ‭I, Jerry Torres, declare as follows:‬

                       ‭1.‬    ‭I am currently employed by Google LLC (Google) as a Senior Counsel. I‬

            ‭graduated from Yale Law School in 2009 and have been an in-house counsel for Google since‬

            ‭2015. I am a member of the State Bar of California.‬

                       ‭2.‬    ‭Since 2023, I have served as senior counsel within Google DeepMind. Google‬

            ‭DeepMind is an organization within Google that focuses on artificial intelligence research and‬

            ‭products. In connection with my role, I routinely receive information from Google personnel‬



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            ‭regarding the design of, operation of, and the technical infrastructure underlying Google’s‬

            ‭artificial intelligence products, models, and functionality.‬

                     ‭3.‬     ‭In connection with my role as senior counsel, I have experience evaluating the‬

            ‭commercial sensitivity of information relating to Google’s artificial intelligence work. In‬

            ‭particular, I have been called upon to assess whether the public disclosure of particular details‬

            ‭would harm Google’s competitive standing.‬

                     ‭4.‬     ‭I understand that the plaintiffs in this case have sought Google’s views as to‬

            ‭whether PXR0123 (GOOG-DOJ-34936179) should be made public in this matter. I have‬

            ‭reviewed the document, and it is my conclusion that the release of PXR0123 would significantly‬

            ‭harm Google’s competitive standing.‬

                     ‭5.‬     ‭PXR0123 is a “data card” relating to a recent Gemini model. The Gemini models‬

            ‭are some of Google’s leading and most recent generative artificial intelligence models. The data‬

            ‭card describes in detail the datasets that are used to pretrain the model. The data card sets forth‬

            ‭what might be described as a “secret recipe” for training a Gemini model. The information‬

            ‭contained in PXR0123 is highly commercially sensitive, and Google keeps it strictly‬

            ‭confidential.‬

                     ‭6.‬     ‭Like Google, other companies train and develop generative artificial intelligence‬

            ‭models. Through my work, I have come to understand that they routinely keep the details of‬

            ‭those models (e.g., the data used to train the models) strictly confidential. For example, I‬

            ‭understand that the data used to train OpenAI’s GPT-4o model (a model currently powering‬

            ‭ChatGPT) has not been publicly disclosed.‬

                     ‭7.‬     ‭In my view, the risk of companies attempting to capitalize on the release of details‬

            ‭about the Gemini models is substantial. For one thing, Google’s competitors could use the‬



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            ‭information in the data card to identify additional categories of data to use to pre-train their‬

            ‭models. Moreover, through my work, I have come to understand that there are companies whose‬

            ‭business model involves providing datasets for use in training artificial intelligence models.‬

            ‭Those companies’ clients include, e.g., OpenAI, Meta, and Microsoft. In my opinion, if the‬

            ‭Gemini data card were released, such companies would be highly incentivized to use it to craft‬

            ‭additional datasets that they could market to Google’s rivals.‬

                     ‭8.‬    ‭Publicly revealing the Gemini models’ data cards would also upset past strategic‬

            ‭choices that Google has already made. Google has developed a proprietary family of large‬

            ‭language models (Gemini) and a family of open models (Gemma). For Gemma, Google‬

            ‭regularly releases technical information, including the actual code needed to support the model.‬

            ‭See‬‭C. Farabet & T. Warkentin,‬ ‭Introducing Gemma‬‭3: The most capable model you can run on‬

            ‭a single GPU or TPU‬‭, The Keyword (Mar. 12, 2025),‬‭available at‬

            ‭https://blog.google/technology/developers/gemma-3/‬‭(“Download Gemma 3 models from‬

            ‭Hugging Face, Ollama, or Kaggle.”). Google has thus chosen a two-track approach to compete‬

            ‭in and contribute to the body of knowledge surrounding generative artificial intelligence‬

            ‭technology–‬‭i.e.‬‭, it has an open family of models‬‭and a proprietary family of models. It would‬

            ‭inure to Google’s competitive detriment if the company were forced to blur the lines between the‬

            ‭information it makes available about the proprietary Gemini models and the open Gemma‬

            ‭models.‬

                                                      ‭*‬    ‭*‬         ‭*‬   ‭*‬

            ‭I declare under penalty of perjury that the foregoing is true and correct.‬


                              9th day of April 2025, in _______________________________.‬
            ‭Executed on this ____                      Mountain View, California, USA



                                                                          ‭__________________________‬
                                                                   ‭3‬
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                                                                    ‭Jeremiah R. Torres‬




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